Information to identify the cases:



Debtors              PG&E Corporation and Pacific Gas and Electric Company             EIN (See below)
                      Name

United States Bankruptcy Court for the: Northern District of California                Date cases filed in chapter 11:          01 / 29 / 2019
                                                                                                                                MM / DD / YYYY
Case number:         19-30088 (DM) (Lead Case; Jointly Administered)


Official Form 309F (For Corporations or Partnerships)
Notice of Chapter 11 Bankruptcy Case                                                                                                    12/17


          For the debtors listed above, cases have been filed under chapter 11 of the Bankruptcy Code and orders for relief have been
          entered. This notice has important information about the cases for creditors, debtors, and trustees, including information about
          the meeting of creditors and deadlines. Read both pages carefully.
          The filing of the cases imposed an automatic stay against most collection activities. This means that creditors generally may
          not take action to collect debts from the debtors or the debtors’ property. For example, while the stay is in effect, creditors
          cannot sue, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand
          repayment from the debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
          punitive damages and attorney’s fees.
          Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted
          from discharge may be required to file a complaint in the bankruptcy clerk’s office within the deadline specified in this notice.
          (See line 11 below for more information.)
          To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk’s office at
          the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

          The staff of the bankruptcy clerk’s office cannot give legal advice.
          Do not file this notice with any proof of claim or other filing in the case.

  1. Debtors’ full names (Jointly Administered Cases):
                      Debtor                                   Address                                    Case No.                 EIN#
  PG&E Corporation                              77 Beale Street, P.O. Box 77000, San
                                                                                                      19-30088 (DM)             XX-XXXXXXX
                                                Francisco, California 94177
  Pacific Gas and Electric Company              77 Beale Street, P.O. Box 77000, San
                                                                                                      19-30089 (DM)             XX-XXXXXXX
                                                Francisco, California 94177
  2. All other names used in the last 8 years: Other names, if any, used by any of the Debtors in the last 8 years may be found in the
     Debtors’ chapter 11 petitions.

  3. Address: See above

 4.   Debtors’ Attorneys
      Tobias S. Keller (#151445)                                               Stephen Karotkin (pro hac vice)
      KELLER & BENVENUTTI LLP                                                  WEIL, GOTSHAL & MANGES LLP
      650 California Street, Suite 1900                                        767 Fifth Avenue
      San Francisco, CA 94108                                                  New York, NY 10153

      Debtors’ Claims and Noticing Agent                                       Contact Phone: (844) 339-4217 (Toll Free)
                                                                                              +1 (929) 333-8977 (Int’l)
      If you have questions about this notice,                                 Email:         pgeinfo@primeclerk.com
      please contact Prime Clerk LLC                                           Website:       https://restructuring.primeclerk.com/pge


  5. Bankruptcy clerk’s office:                             U.S. Bankruptcy Court           Hours open: Monday-Friday, 9 a.m.- 4:30 p.m. (CT)
     Documents in this case may be filed at this
     address. You may inspect all records filed in          450 Golden Gate Avenue          Contact phone: 888-821-7606
     this case at this office or online at                  Mail Box 36099
     www.pacer.com.                                         San Francisco, CA 94102


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   Debtor        PG&E Corporation and Pacific Gas and Electric Company             Case number (if known)   19-30088 (DM) (Lead Case; Jointly Administered)
                Name



6. Meeting of creditors
   The debtors’ representative              Date and Time:                                   Location:
   must attend the meeting to be            Monday March 4, 2019 at 10:00 a.m.               Phillip Burton Federal Building and U.S. Courthouse
   questioned under oath.                                                                    450 Golden Gate Avenue, 2nd Floor
   Creditors may attend, but are            The meeting may be continued or                  California Conference Room
   not required to do so.                   adjourned to a later date. If so, the date       San Francisco, CA 94102
                                            will be on the court docket.


7. Proof of claim deadline        Deadline for filing proof of claim:                          To Be Determined

                                  A proof of claim is a signed statement describing a creditor’s claim. A proof of claim form may be obtained
                                  at www.uscourts.gov or any bankruptcy clerk’s office.

                                  Your claim will be allowed in the amount scheduled unless:
                                   your claim is designated as disputed, contingent, or unliquidated;
                                   you file a proof of claim in a different amount; or
                                   you receive another notice.

                                  If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you
                                  must file a proof of claim or you might not be paid on your claim and you might be unable to vote on a
                                  plan. You may file a proof of claim even if your claim is scheduled.

                                  You may review the schedules at the bankruptcy clerk’s office or online at www.pacer.gov.

                                  Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a
                                  proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer
                                  can explain. For example, a secured creditor who files a proof of claim may surrender important
                                  nonmonetary rights, including the right to a jury trial.

8. Exception to discharge         You must start a judicial proceeding by filing a complaint if you want to have a debt excepted from
   deadline                       discharge under 11 U.S.C. § 1141(d)(6)(A).
   The bankruptcy clerk’s
   office must receive a
   complaint and any              Deadline for filing the complaint: To Be Determined
   required filing fee by the
   following deadline.

9. Creditors with a foreign       If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to
   address                        extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                  have any questions about your rights in this case.

10. Filing a Chapter 11           Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
    bankruptcy case               court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the
                                  plan, and you may have the opportunity to vote on the plan. You will receive notice of the date of the
                                  confirmation hearing, and you may object to confirmation of the plan and attend the confirmation hearing.
                                  Unless a trustee is serving, the debtors will remain in possession of the property and may continue to
                                  operate their business.

11. Discharge of debts            Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your
                                  debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the
                                  debtors except as provided in the plan. If you want to have a particular debt owed to you excepted from
                                  the discharge under 11 U.S.C. § 1141(d)(6)(A), you must start a judicial proceeding by filing a complaint
                                  and paying the filing fee in the bankruptcy clerk’s office by the deadline.




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